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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


   DAVID ALAN CARMICHAEL, et al.,

                         Plaintiffs,

                  v.                               Civil Action No. 19-2316 (RC)

  ANTONY J. BLINKEN, in his official
  capacity as Secretary of State, et al.,

                         Defendants.


                             DEFENDANTS’ STATUS REPORT

       Pursuant to the Court’s August 8, 2021, Order, Defendants, Secretary of State Antony J.

Blinken and the U.S. Department of State, respectfully submit the following status report regarding

the status of Ms. Michelle Boulton’s passport application. On May 21, 2021, Ms. Boulton moved

to intervene in this Religious Freedom Restoration Act (“RFRA”) action (see ECF No. 94) and

Plaintiffs have also moved to join her as a party (see ECF No. 92). As explained below, the State

Department has issued Ms. Boulton a passport.

        As explained in Kristia Watkins’ declaration (ECF No. 95-1), which the government

submitted in support of its opposition to Ms. Boulton’s motion to intervene and Plaintiffs’ joinder

motion, Ms. Boulton has not been denied any passport for failing to provide a social security

number. On or around July 28, 2020, Ms. Boulton appeared at the U.S. Embassy in San Jose,

Costa Rica, to apply for a U.S. passport and presented evidence of urgent air travel. Watkins Decl.

¶ 3. That same day, she was issued an emergency passport valid for one year, until July 27, 2021.

Id. On or around March 9, 2021, Ms. Boulton re-appeared at the U.S. Embassy in San Jose, Costa

Rica, to execute an application for a U.S. passport using Form DS-5504, “Application for a U.S.
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Passport: Name Change, Data Correction, and Limited Passport Book Replacement.” Id. ¶ 4. On

or around March 9, 2021, the U.S. Embassy in San Jose, Costa Rica, requested that Ms. Boulton

provide additional information regarding her identity no later than June 7, 2021, to respond. Id.

       On August 10, 2021, the State Department notified Ms. Boulton that the administrative

process regarding her passport application has been completed and a passport has been issued. See

Exhibit A (attached hereto). Ms. Boulton will be notified when her passport has arrived at the U.S.

Embassy and may be retrieved. In light of this development, and for the reasons discussed in

Defendants’ opposition, both Ms. Boulton’s intervention motion and Plaintiffs’ joinder motion

should be denied.

Dated August 20, 2021                 Respectfully submitted,

                                      CHANNING D. PHILLIPS, D.C. Bar No. 415793
                                      Acting United States Attorney

                                      BRIAN P. HUDAK
                                      Acting Chief, Civil Division

                                      /s/ Christopher C. Hair
                                      CHRISTOPHER C. HAIR, PA Bar No. 306656
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                                      Counsel for Defendants




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of August, 2021, I caused the foregoing to be

served on proposed intervenor Michelle Boulton and pro se Plaintiffs David Carmichael,

William Mitchell Pakosz, and Lawrence Donald Lewis, via U.S. Mail with pre-paid postage,

addressed as follows:

       Michelle Boulton
       8491 Hospital Dr. #178
       Douglasville, GA 30134-2412

       David Alan Carmichael
       1748 Old Buckroe Road
       Hampton, VA 23664

       William Mitchell Pakosz
       P.O. Box 25
       Matteson, IL 60443

       Lawrence Donald Lewis
       966 Bourbon Lane
       Nordman, ID 83848


                                            /s/ Christopher C. Hair
                                            CHRISTOPHER C. HAIR
                                            Assistant United States Attorney
